Case 1:21-cv-24474-BB Document 1 Entered on FLSD Docket 12/29/2021 Page 1 of 18




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


  PPE TRADE & SUPPORT, LLC,                                  Case Number: _______________

          Plaintiff,

  v.

  SHELDON JASON BURNETT,
  SHELDON JASON BURNETT, ESQ., P.A.,
  and ANALYTICS ASSOCIATES, LLC,

          Defendants.
                                                        /


                                                 COMPLAINT

        PPE Trade and Support, LLC (“Plaintiff”), submits this Complaint seeking relief against

 Defendants Sheldon Jason Burnett (“Burnett”), Sheldon Jason Burnett, Esq. P.A. (“Burnett Law”),

 and Analytics Associates, LLC (“Analytics”), and states the following:

                                                        I.
                                                      Parties

        1.       Plaintiff, PPE Trade & Support, LLC is a limited liability company formed and

 existing under the laws of the State of Delaware. Its main office and headquarters are located in

 Los Angeles, California. It is a citizen of California for purposes of diversity jurisdiction.

 Plaintiff’s Chief Operating Officer is Mr. Yida Gao.

        2.       Defendant, Sheldon Jason Burnett is a Florida resident, with business operations in

 Florida and is otherwise sui juris.

        3.       Defendant Sheldon Jason Burnett, Esq. P.A. is a professional association whose

 registered mailing address with the Florida Bar is 11395 S.W. 95th Street, Miami, Florida 33176.

 Burnett Law is a citizen of Florida for diversity purposes because its nerve center is in Florida.


             80 SW 8 TH STREET, SUITE 1999, MIAMI FL 33130   T: (305) 374 0440   WWW.MARKMIGDAL.COM
Case 1:21-cv-24474-BB Document 1 Entered on FLSD Docket 12/29/2021 Page 2 of 18




 The Florida Bar’s online records indicate that Burnett Law has just one attorney, Burnett.

         4.      Defendant, Analytics Associates, LLC. is headquartered in Albuquerque, New

 Mexico, and is a citizen of Florida for purposes of diversity jurisdiction by virtue of its conducting

 business in Miami, Florida through its agent and principal, Burnett, who signs off on invoices for

 Analytics as its “President.”

                                                  II.
                                       Jurisdiction and Venue

         5.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332 as the matter in

 controversy exceeds the sum or value of $75,000.00, exclusive of interest and costs, and is between

 citizens of different States.

         6.      Jurisdiction is also proper over all Defendants pursuant to § 48.193(1), Fla. Stats.,

 as the Defendants operate, conduct, engage in, and carry on business in the State of Florida and

 have an office and agent in this State.

         7.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of

 the events or omissions giving rise to the claim occurred in this district.

                                                  III.
                                           General Allegations

                                              A.
   Plaintiff’s Purchase Agreement (Plaintiff’s Purchase of PPE from Defendant Analytics)

         8.      Plaintiff is in the business of buying and selling personal protective equipment

 (“PPE”), which includes surgical masks, disposable medical gloves (of varying levels of quality)

 and gowns, as well as other healthcare related products. The PPE market increased exponentially

 in 2020 with the onset of the COVID-19 pandemic.

         9.      On or about December 21st, 2020, Plaintiff, through an independent broker called

 Blue Avian Ventures (“BAV”), entered into an agreement with Analytics to purchase 1,358,000


                                                   2
Case 1:21-cv-24474-BB Document 1 Entered on FLSD Docket 12/29/2021 Page 3 of 18




 disposable PPE (medical gloves) from Analytics for a price of $162,613.00. At that time, Plaintiff

 also agreed to step into the shoes of BAV in regard to a separate bi-lateral PPE purchase agreement

 that BAV had previously entered into with Analytics for its own account (not as a broker for

 Plaintiff), with a purchase price of $24,402.20 (“BAV/Defendant Analytics Purchase

 Agreement”).     These two agreements are collectively hereinafter referred to as “Plaintiff’s

 Purchase Agreement”. 1

           10.   In connection with and under the terms of Plaintiff’s Purchase Agreement,

 Analytics generated an invoice dated December 21st, 2020, which reflected the total amount and

 types of PPE purchased by Plaintiff under Plaintiff’s Purchase Agreement, which came to a total

 of $187,015.20, consisting of $162,613.00 for Plaintiff’s direct PPE purchase from Analytics,

 plus $24,402.20 for the separate purchase agreement that Plaintiff assumed from BAV. See

 Defendant Analytics’ 12/21/20 Invoice signed by Sheldon J Burnett, as President of Analytics

 Associates, LLC (the “12/21/20 Invoice”), attached here as “Exhibit 1.”

           11.   The BAV/Defendant Analytics Purchase Agreement initially was wholly

 independent from Plaintiff; in other words, BAV entered into the BAV/Defendant Analytics

 Purchase Agreement on its own account and not as a broker for Plaintiff or another individual or

 entity.

           12.   Thus, the total amount to which Plaintiff agreed to pay per the terms of Plaintiff’s

 Purchase Agreement as correctly represented in the 12/21/20 Invoice was $187,015.20, reflecting

 Plaintiff’s Purchase Agreement price of $162,613.00 plus the $24,402.20 from the

 BAV/Defendant Analytics Purchase Agreement.




 1
  The terms of Plaintiff’s Purchase Agreement are memorialized through text/WhatsApp messages,
 which are being aggregated and will be further collected through the course of discovery.
                                                  3
Case 1:21-cv-24474-BB Document 1 Entered on FLSD Docket 12/29/2021 Page 4 of 18




        13.     Plaintiff timely performed all its obligations under Plaintiff’s Purchase Agreement

 (including payment of the full amount of the 12/21/20 Invoice) by paying Defendant Analytics the

 full invoiced amount of $187,015.20 in two wire transfers, as was agreed to by Mr. Gao on behalf

 of Plaintiff and Burnett on behalf of Analytics.

        14.     Specifically, Plaintiff paid Plaintiff’s Purchase Agreement (the full invoiced

 amount of $187,015.20), by wiring $90,845.20 directly to Analytics on December 21st, 2020 (the

 same date the 12/21/20 Invoice was issued) and by wiring the remaining balance of $96,170.00 to

 BAV the next day. Prior to the above-described payments by Plaintiff, Analytics approved this

 manner of payments in a conference call among Defendant Burnett (on behalf of Defendant

 Analytics), Mr. Gao (on behalf of Plaintiff), and a representative of BAV. See Redacted copies of

 Plaintiff’s December 21st and 22nd, 2020 wire transfer confirmations reflecting Plaintiff’s

 payments to Defendant Analytics and BAV, attached here as “Exhibit 2.”

        15.     By promptly and timely paying the full amount of the 12/21/20 Invoice in the

 agreed manner via the wire transfers made on or about December 21st and 22nd, 2020, in the manner

 agreed to by Defendant Analytics, as described above, Plaintiff fully performed all of its

 obligations to Analytics in regards to and as required by Plaintiff’s Purchase Agreement.

        16.     In consideration for the above-described two payments made by Plaintiff, Analytics

 agreed to deliver all the PPE made on the basis of Plaintiff’s Purchase Agreement (collectively

 “The Purchased PPE”) to Plaintiff within one month of payment. However, notwithstanding

 Plaintiff’s full payment of the $187,015.20 purchase price in December 2020, Analytics did not

 deliver the Purchased PPE to Plaintiff within 30 days of Plaintiff’s payment as agreed. In fact, to

 date, twelve months after Plaintiff paid in full for the Purchased PPE, Analytics has failed to deliver

 any of the Purchased PPE to Plaintiff. This failure constitutes a violation of Plaintiff’s Purchase



                                                    4
Case 1:21-cv-24474-BB Document 1 Entered on FLSD Docket 12/29/2021 Page 5 of 18




 Agreement by Analytics. Repeated attempts by Plaintiff to resolve this matter and obtain delivery

 of PPE have proven fruitless as Analytics has failed and refused to deliver The Purchased PPE or

 undertake any other steps to cure its violation of Plaintiff’s Purchase Agreement.

        17.     As a result of Analytics’ violation of Plaintiff’s Purchase Agreement, Plaintiff has

 suffered damages in the amount of $187,015.20, the amount Plaintiff paid for The Purchased PPE

 that Analytics failed to deliver.

        18.     Additionally, Plaintiff suffered lost profits that it would have obtained through the

 near-immediate re-sale of The Purchased PPE to third parties had The Purchased PPE been timely

 delivered in January to Plaintiff by Analytics. 2 During the time period when Analytics had agreed

 to deliver The Purchased PPE to Plaintiff, Plaintiff consistently achieved a profit margin exceeding

 20% (twenty percent) on the re-sale of PPE which was identical or very similar to The Purchased

 PPE that Plaintiff ordered from Analytics (“Plaintiff’s PPE Profit Margin”). Plaintiff would have

 been able to achieve this PPE Profit Margin if Analytics had timely delivered The Purchased PPE

 to Plaintiff. Moreover, Plaintiff was selling PPE “FOB”, so there were no shipping costs or other

 non-overhead costs attributable to re-sale orders.

        19.     Plaintiff conservatively calculates a 20% profit margin on the $187,015.20

 Agreement price for the Purchased PPE, or $37,403.04, as the additional reasonable expectation

 damages it suffered as a result of Analytics’ violation of Plaintiff’s Purchase Agreement.

 Accordingly, Plaintiff has suffered damages in excess of $224,000.00, as a direct result of

 Analytics’ refusal to perform in accordance with the representations it made in Plaintiff’s Purchase




 2
  Due to the curbing of the pandemic and the increased manufacture and availability of PPE since
 Plaintiff entered into Plaintiff’s Purchase Agreement with Defendant Analytics, the market re-sale
 price of The Purchased PPE has declined significantly since the time The Purchased PPE should
 have been delivered to Plaintiffs.
                                                  5
Case 1:21-cv-24474-BB Document 1 Entered on FLSD Docket 12/29/2021 Page 6 of 18




 Agreement.

                                               B.
                     Plaintiff’s PPE Sale Agreement to Defendant Analytics

           20.   On or shortly before February 1st, 2021, BAV, acting as Plaintiff’s authorized

 broker, arranged a second transaction between Plaintiff and Analytics (“Plaintiff’s Sale

 Agreement”) in which Plaintiff agreed to sell to Analytics 26,200 boxes of PPE (disposable

 medical gloves) containing 100 gloves per box (“Plaintiff’s Sold PPE”). 3 Plaintiff’s Sold PPE

 were priced at $11.65 per box and thus the total sale price was $305,230.00 (26,200 x $11.65)

 [$152,615.00 in Cash plus an agreed-upon same-amount in value in PPE to complete this purchase

 price].

           21.   Under the terms of the Plaintiff’s Sale Agreement, Burnett, on behalf of Analytics

 agreed to pay half of the sale price (50%) in cash – i.e., $5.825 per box - and the other half (50%)

 with an in-kind payment of PPE. Specifically, in addition to agreeing to pay $151,450.00 in cash

 (26,000 x $5.825) (“Analytics Cash Payment”), Analytics, through Burnett, agreed to deliver to

 Plaintiff 1,226,310 Halyard, Kimtech, and/or other approved 100% 510K Nitrile gloves

 constituting a value of $151,450.00, which were to be delivered on or before February 4th, 2021

 (“Analytics In-Kind Payment”).

           22.   Pursuant to Plaintiff’s Sale Agreement, Analytics was to make the Analytics Cash

 Payment of $151,450.00 up front, and the Analytics and the Analytics In-Kind Payment was to be

 delivered to Plaintiff on or before February 2021. Plaintiff’s obligation to ship Plaintiff’s Sold

 PPE made the basis of Plaintiff’s Sale Agreement was conditioned specifically upon Plaintiff’s

 receipt of the Analytics Cash Payment prior to the shipping of Plaintiff’s Sold PPE. The Analytics



 3
  The terms of Plaintiff’s Sale Agreement are memorialized through text/WhatsApp messages,
 which are being aggregated and will be further collected through the course of discovery.

                                                  6
Case 1:21-cv-24474-BB Document 1 Entered on FLSD Docket 12/29/2021 Page 7 of 18




 In-Kind Payment was to follow promptly thereafter but was not a precondition to Plaintiff’s

 obligation to ship Plaintiff’s Sold PPE.

        23.     On or about February 1st, 2021, Analytics informed BAV and Plaintiff that Burnett

 Law had directed its bank to wire the Analytics Cash Payment ($151,450.00) to Plaintiff in

 accordance with the Plaintiff’s Sale Agreement. As purported evidence that the Analytics Cash

 Payment had been made, and in order to induce Plaintiff to ship Plaintiff’s Sold PPE, Defendants

 furnished to BAV (Plaintiff’s broker), a copy of what Defendants collectively and intentionally

 represented to be a completed wire transfer order from a bank account of Burnett Law to Plaintiff

 in the amount of the Analytics Cash Payment, $151,450.00. See Redacted copy of “Defendants’

 Putative Wire”, attached here as “Exhibit 3.”

        24.     Because Plaintiff’s obligation to ship Plaintiff’s Sold PPE was conditioned

 specifically upon Plaintiff’s receipt of the Analytics Cash Payment, Analytics, Burnett and Burnett

 Law collectively provided BAV with a copy of Defendants’ Putative Wire for the purpose of

 having BAV immediately provide it to Plaintiff in order to show Plaintiff that the required

 Analytics Cash Payment had been made, thereby inducing Plaintiff into believing its obligation to

 ship at that time Plaintiff’s Sold PPE to Analytics’ “Designated Recipient,” M&W Suppliers. The

 Defendants further assured BAV and Plaintiff that the Analytics’ In-Kind Payment would be

 delivered within the next few days.

        25.     In reliance on the copy of Defendants’ Putative Wire and the contemporaneous

 assurances of Analytics, Burnett and Burnet Law that the required Analytics Cash Payment had

 already been sent by wire transfer and the Analytics’ In-Kind Payment of PPE would be delivered

 in the next few days, Plaintiff shipped Plaintiff’s Sold PPE to Analytics’ Designated Recipient,

 M&W Suppliers, as is indicated by the Bill of Lading. See Bill of Lading and related photo of



                                                 7
Case 1:21-cv-24474-BB Document 1 Entered on FLSD Docket 12/29/2021 Page 8 of 18




 PPE, attached here as “Exhibit 4.”

        26.      However, the next day – after Plaintiff’s Sold PPE had been shipped to Analytics’

 Designated Recipient -- Plaintiff learned that it had not received any wire transfer from Burnett

 Law, or any other for the Analytics Cash Payment. Burnett and Burnett Law canceled Defendants’

 Putative Wire before the transfer to Plaintiff was completed, or in actuality, had never directed

 Burnett Law’s bank to complete Defendants’ Putative Wire in the first place, or Defendants had

 created a fraudulent document which they collectively presented to BAV and Plaintiff or otherwise

 had found some manner of preventing Plaintiff from receiving the Analytics Cash Payment, if ever

 such payment was ever actually initiated by the Defendants.

        27.      Irrespective of the manner in which Defendants were able to prevent Plaintiff from

 receiving the Analytics Cash Payment, the intentional misrepresentations by all Defendants

 regarding Defendants’ Putative Wire were intended to induce, and did induce, Plaintiff to ship

 Plaintiff’s Sold PPE to Analytics’ Designated Recipient, M&W Suppliers. Plaintiff shipped

 Plaintiff’s Sold PPE in reliance on Defendants’ assurances, made verbally and by producing

 Defendants’ Putative Wire, that the Analytics Cash Payment had been made and the precondition

 for Plaintiff’s shipment of Plaintiff’s Sold PPE had been met, when in fact, Defendants had no

 intention of consummating any wire transfer for the Analytics Cash Payment to the Plaintiff.

 Defendant Analytics also failed to ship to Plaintiff any of the PPE constituting the Analytics In-

 Kind Payment.

        28.     By relying upon Defendants’ Putative Wire and shipping Plaintiff’s Sold PPE,

 Plaintiff fulfilled its obligations under Plaintiff’s Sale Agreement. However, to date, Analytics

 has failed to pay Plaintiff any of the Analytics Cash Payment of $151,450.00 as required by

 Plaintiff’s Sale Agreement and has failed to deliver to Plaintiff any of the PPE which was to



                                                 8
Case 1:21-cv-24474-BB Document 1 Entered on FLSD Docket 12/29/2021 Page 9 of 18




 constitute the Analytics In-Kind Payment under Plaintiff’s Sale Agreement. 4 Defendant Analytics

 has wholly failed to perform in accordance with the representations it made to Plaintiff under

 Plaintiff’s Sale Agreement, in violation of that Agreement.

         29.    As a direct result of Analytics’ breach of Plaintiff’s Sale Agreement, Plaintiff has

 suffered damages in excess of $75,000.00, as calculated by the price of Plaintiff’s Sold PPE set

 forth in Plaintiff’s Sale Agreement, which Plaintiff delivered in compliance with Plaintiff’s

 obligation under Plaintiff’s Sale Agreement, but for which Analytics has failed to pay, in violation

 of its obligations under Plaintiff’s Sale Agreement.

         30. All conditions precedent to filing this action, including any required notices or

 demands, have been performed, have occurred, or have been excused or waived.

         31. Plaintiff has incurred, and will continue to incur, legal fees and expenses in the

 enforcement of the Plaintiff’s Purchase Agreement and Plaintiff’s Sale Agreement, including the

 prosecution of this action.

                                                IV.
                                          Causes of Action

                                           COUNT I:
                                       Unjust Enrichment
                                  (Against Defendant Analytics)

         32.    Plaintiff incorporates by reference and realleges all allegations in paragraphs 1

 through 30 above as if recopied in their entirety and fully set forth below for all purposes.

         33.    Plaintiff asserts a count against Analytics for unjust enrichment. By Plaintiff

 paying Analytics $187,015.20 for PPE that Analytics failed to deliver and by sending Analytics

 goods worth $302,900.00 for which Analytics failed to pay, Plaintiff has conferred substantial



 4
     .   Neither Burnett or Burnett Law has paid any of the money owed as well.


                                                  9
Case 1:21-cv-24474-BB Document 1 Entered on FLSD Docket 12/29/2021 Page 10 of 18




  benefits on Analytics, which has full knowledge and appreciation of those benefits conferred.

  Analytics has voluntarily accepted and retained the benefits conferred under circumstances that

  make it inequitable for Analytics to retain those benefits without paying for them.

         34.     As a result of Analytics’ unjust enrichment to the detriment of Plaintiff, Plaintiff

  has been damaged and seeks restitution from Analytics in the amount in excess of $75,000.00, plus

  court costs and prejudgment interest and such other relief as the Court deems just and proper.

         WHEREFORE, Plaintiff requests that the Court enter an order finding that Analytics has

  been unjustly enriched at Plaintiff’s expense and ordering Analytics to make restitution to Plaintiff

  and award damages in excess of $75,000.00, plus court costs and prejudgment interest and such

  other relief as the Court deems just and proper.

                                            COUNT II:
                                               Fraud
                                      (Against All Defendants)

         35.     Plaintiff incorporates by reference and realleges all allegations in paragraphs 1

  through 30 above as if recopied in their entirety and fully set forth below for all purposes.

         36.     Analytics, Burnett, and Burnett Law fraudulently induced Plaintiff to ship the PPE

  that made the basis of Plaintiff’s Sale Agreement by falsely representing to BAV and Plaintiff that

  the Burnett Law had initiated from one of its’ bank accounts, Defendants’ Putative Wire to

  Plaintiff’s designated bank account in the amount of $151,450.00.

         37.     Analytics, Burnett, and Burnett Law further falsely represented to Plaintiff that the

  remaining one-half (50%) payment (Defendant’s In-Kind Payment), under the terms of Plaintiff’s

  Sale Agreement, would be timely delivered to Plaintiff within a few days thereafter, of which none

  has ever been delivered.

         38.     Analytics, Burnett and Burnett Law knew the above-described representations and



                                                     10
Case 1:21-cv-24474-BB Document 1 Entered on FLSD Docket 12/29/2021 Page 11 of 18




  statements of fact were false at the time they were made, and these false representations and

  statements were intended to induce Plaintiff to ship Plaintiff’s Sold PPE made the basis of

  Plaintiff’s Sale Agreement, which in fact did occur.

         39.     Burnett Law participated in the fraud by and through Burnett Law’s directing its

  bank to issue Defendants’ Putative Wire, and then – after (and with actual knowledge that)

  Analytics, Burnett and Burnett Law had shown Defendants’ Putative Wire (and directed BAV to

  show said Defendants’ Putative Wire to Plaintiff) - then either canceled Defendants’ Putative Wire

  before the funds were finally deposited in Plaintiff’s account, or; Barnett Law created a false (never

  completed wire transfer) through an incomplete, forged and/or never fully submitted wire

  document(s) to its bank, for the direct and intended purpose that BAV provide a copy of

  Defendants’ Putative Wire and related representations specific to Defendants’ Putative Wire to

  Plaintiff, for the purposes of representing to Plaintiff (through its principal, Defendant Burnett),

  that the printout of Defendants’ Putative Wire was a genuine record of an actual completed wire

  transfer Defendant Burnett law had directed its bank to make.

         40.     Analytics and Burnett had coordinated this plan with Burnett Law, to defraud

  Plaintiff, and all three Defendants knew that Defendant’s Putative Wire would never result in

  payment to Plaintiff from Burnett Law’s bank account, or by Analytics or Burnett. Analytics and

  Burnett knew this at the time of their communications with Plaintiff and BAV (which included

  publishing Defendants’ Putative Wire to BAV with the intention that BAV show said Putative

  Wire to Plaintiff), and Burnett Law knew this at the time these actions regarding Defendants’

  Putative Wire were undertaken.

         41.     Plaintiff justifiably relied on the above-described representations and acted upon

  said representations by shipping Plaintiff’s Sold PPE to Analytics Designated Recipient (M&W



                                                   11
Case 1:21-cv-24474-BB Document 1 Entered on FLSD Docket 12/29/2021 Page 12 of 18




  Suppliers), per Analytics’ instructions. Plaintiff would not have shipped Plaintiff’s Sold PPE in

  the absence of the representations and statements made by Defendants (including Defendants’

  Putative Wire).

         42.     Under the “Flexibility Theory” of damages followed in Florida, a defrauded party

  is entitled to the measure of damages that will fully compensate him. Nordyne, Inc. v. Fla. Mobile

  Home Supply, Inc., 625 So.2d 1283, 1286 (Fla. 1st DCA 1993) (“The ‘flexibility theory’ permits

  the court to use either the ‘out-of-pocket’ or the ‘benefit-of-the-bargain’ rule, depending upon

  which is more likely fully to compensate the injured party.”).

         43.     Thus, Plaintiff is entitled to recover benefit-of-the-bargain damages from

  Analytics, Burnett, and Burnett Law in excess of $75,000.00.

         44.     Likewise, Plaintiff is entitled to recover out-of-pocket damages in excess of

  $75,000.00, since Plaintiff received nothing in return. These damages should be at least equal to

  the value (as of the time of the fraud) of the PPE which Plaintiff shipped under the terms of the

  Plaintiff’s Sale Agreement as a result of the fraud.

         45.     Moreover, because all three Defendants were personally guilty of intentional

  misconduct, Plaintiff reserves the right to seek punitive damages against each of them from

  Burnett, Analytics and Burnett Law pursuant to Section 768.72, Florida Statutes. In regard to the

  misrepresentations discussed herein, each of the three Defendants had actual knowledge of the

  wrongfulness of the conduct and the high probability that injury or damage to the claimant would

  result and, despite that knowledge, intentionally pursued that course of conduct, resulting in injury

  or damage.

         46.     Burnett Law actively and knowingly participated in this conduct (which used

  Burnett Law’s bank account to either issue and rescind a wire transfer order, or; produce a falsified



                                                   12
Case 1:21-cv-24474-BB Document 1 Entered on FLSD Docket 12/29/2021 Page 13 of 18




  document which falsely purported to evidence a wire transfer though no such transfer order was

  ever placed), with the intent to use Defendants’ Putative Wire to induce Plaintiff to ship the PPE,

  per Plaintiff’s Sale Agreement.       Moreover, Burnett Law’s manager and principal (Burnett)

  condoned, ratified, consented to, and in fact perpetrated the intentional misconduct described

  herein.

            47.    Likewise Analytics actively and knowingly participated in this conduct, and

  Analytics’ member and principal (Burnett) condoned, ratified, consented to, and in fact perpetrated

  the intentional misconduct stated above.

            WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

  against each Defendant, jointly and severally, for fraud, and award damages in excess of

  $75,000.00, court costs and prejudgment interest and such other relief as the Court deems just and

  proper. Plaintiff reserves the right to claim punitive damages in accordance with governing law.

                                              COUNT III:
                                         Promissory Estoppel
                                     (Against Defendant Analytics)

            48.    Plaintiff incorporates by reference and realleges all allegations in paragraphs 1

  through 30 above as if recopied in their entirety and fully set forth below for all purposes.

            49.    Plaintiff asserts a count against Analytics for promissory estoppel.

            50.    Specifically, Analytics promised Plaintiff that it would deliver certain PPE in

  exchange for Plaintiff’s payment of $187,015.20 to Analytics and BAV.

            51.    In reliance of this representation, Plaintiff wired $90,845.20 directly to Analytics

  on December 21st, 2020, and wired the remaining balance of $96,170.00 to BAV the next day.

            52.    Prior to the above-described payments by Plaintiff, Analytics approved this manner

  of payments in a conference call among Defendant Burnett (on behalf of Defendant Analytics),



                                                    13
Case 1:21-cv-24474-BB Document 1 Entered on FLSD Docket 12/29/2021 Page 14 of 18




  Mr. Gao (on behalf of Plaintiff), and a representative of BAV.

            53.    Analytics represented that it would deliver all a set volume of PPE to Plaintiff

  within one month of these payments.

            54.    Notwithstanding Plaintiff’s full payment of the $187,015.20 in December 2020,

  Analytics did not deliver the Purchased PPE to Plaintiff within 30 days of Plaintiff’s payment as

  agreed.

            55.    To date, twelve months after Plaintiff paid in full for the Purchased PPE, Analytics

  has failed to deliver any of the Purchased PPE to Plaintiff.

            56.    As a result of Plaintiff’s reliance on Analytics’ representations as to the material

  fact it would provide certain PPE upon Plaintiff’s payment of certain funds, and Analytics’ change

  in that position to Plaintiff’s detriment, resulting in Plaintiff being damaged in an amount

  exceeding $75,000.00.

            WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

  against Analytics, for promissory estoppel, and award damages in excess of $75,000.00, court

  costs and prejudgment interest and such other relief as the Court deems just and proper.

                                              COUNT IV:
                                          Promissory Estoppel
                                        (Against All Defendants)

            57.    Plaintiff incorporates by reference and realleges all allegations in paragraphs 1

  through 30 above as if recopied in their entirety and fully set forth below for all purposes.

            58.    Plaintiff asserts a count against all Defendants for promissory estoppel.

            59.    BAV, acting as Plaintiff’s authorized broker, arranged a transaction in which

  Plaintiff agreed to sell, and Analytics agreed to purchase identified and agreed-upon PPE for a

  total sale price of $302,900.00.



                                                    14
Case 1:21-cv-24474-BB Document 1 Entered on FLSD Docket 12/29/2021 Page 15 of 18




         60.     Analytics represented the material fact to Plaintiff that it would pay $151,450.00 to

  Plaintiff and would also ship 1,226,310 of certain specified gloves to Plaintiff, valued at

  $151,450.00.

         61.     In reliance on Analytics’ representations, and in exchange for that payment,

  Plaintiff agreed that it would ship certain PPE to Analytics’ Designated Representative in exchange

  for Analytics making the above payments and transfer of gloves to Plaintiff.

         62.     To induce Plaintiff to ship Plaintiff’s PPE to Analytics, Analytics, Burnett and

  Burnett Law - through the production of the Defendants’ Putative Wire ($151,450.00) to BAV

  (instructing BAV to show this document to Plaintiff), represented and purported to BAV and

  Plaintiff (through BAV) to confirm that the one-half (50%) of Analytics’ promised payment had

  been made by Barnett Law, to Plaintiff’s designated bank account, on behalf of Analytics.

         63.     In reliance upon these verbal and documentary representations made by Analytics,

  Burnett and Burnett Law, Plaintiff did at one time, in one shipment, ship all the PPE to Analytics’

  Designated Recipient, thereby fully performing its obligation under Plaintiff’s Sale Agreement.

         64.     However, Defendants Burnett and Burnett Law canceled Defendants’ Putative

  Wire before the transfer to Plaintiff was completed, or in actuality, had never directed Burnett

  Law’s bank to complete Defendants’ Putative Wire in the first place, or Defendants had created a

  fraudulent document which they collectively presented to BAV and Plaintiff or otherwise had

  found some manner of preventing Plaintiff from receiving the Analytics’ Cash Payment, if ever

  such payment was ever actually initiated by the Defendants.

         65.     Despite Defendants’ representations to the contrary, Analytics still has not made

  the promised monetary and in-kind payment to Plaintiff, despite Plaintiff shipping all of Plaintiff’s

  promised PPE to Analytics’ Designated Representative.



                                                   15
Case 1:21-cv-24474-BB Document 1 Entered on FLSD Docket 12/29/2021 Page 16 of 18




         66.     As a result of Defendants’ misrepresentations, Plaintiff has suffered damages in

  excess of $75,000.00.

         WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

  against all Defendants, jointly and severally, for promissory estoppel, and award damages in

  excess of $75,000.00, court costs and prejudgment interest and such other relief as the Court deems

  just and proper.

                                            COUNT V:
                                          Account Stated
                                      (Against All Defendants)

         67.     Plaintiff incorporates by reference and realleges all allegations in paragraphs 1

  through 30 above as if recopied in their entirety and fully set forth below for all purposes.

         68.     Plaintiff asserts a count against all Defendants for account stated.

         69.     BAV, acting as Plaintiff’s authorized broker, arranged a transaction in which

  Plaintiff agreed to sell, and Analytics agreed to purchase identified and agreed-upon PPE for a

  total sale price of $302,900.00.

         70.     Analytics represented the material fact to Plaintiff that it would pay $151,450.00 to

  Plaintiff and would also ship 1,226,310 of certain specified gloves to Plaintiff, valued at

  $151,450.00.

         71.     In reliance on Analytics’ representations, and in exchange for that payment,

  Plaintiff agreed that it would ship certain PPE to Analytics’ Designated Representative in exchange

  for Analytics making the above payments and transfer of gloves to Plaintiff.

         72.     To induce Plaintiff to ship Plaintiff’s PPE to Analytics, Analytics, Burnett and

  Burnett Law - through the production of the Defendants’ Putative Wire ($151,450.00) to BAV

  (instructing BAV to show this document to Plaintiff), represented and purported to BAV and



                                                   16
Case 1:21-cv-24474-BB Document 1 Entered on FLSD Docket 12/29/2021 Page 17 of 18




  Plaintiff (through BAV) to confirm that the one-half (50%) of Analytics’ promised payment had

  been made by Barnett Law, to Plaintiff’s designated bank account, on behalf of Analytics.

            73.    In reliance upon these verbal and documentary representations made by Analytics,

  Burnett and Burnett Law, Plaintiff did at one time, in one shipment, ship all the PPE to Analytics’

  Designated Recipient, thereby fully performing its obligation under Plaintiff’s Sale Agreement.

            74.    However, Defendants Burnett and Burnett Law canceled Defendants’ Putative

  Wire before the transfer to Plaintiff was completed, or in actuality, had never directed Burnett

  Law’s bank to complete Defendants’ Putative Wire in the first place, or Defendants had created a

  fraudulent document which they collectively presented to BAV and Plaintiff or otherwise had

  found some manner of preventing Plaintiff from receiving the Analytics’ Cash Payment, if ever

  such payment was ever actually initiated by the Defendants.

            75.    The parties agree that the balance outstanding on this transaction is correct and due.

            76.    Defendants have made an express or implicit promise to pay their outstanding

  balance as owed to Plaintiff.

            77.    Analytics still has not made the promised monetary and in-kind payment to

  Plaintiff, despite Plaintiff shipping all of Plaintiff’s promised PPE to Analytics’ Designated

  Representative.

            78.    As a result of Defendants’ misrepresentations, Plaintiff has suffered damages in

  excess of $75,000.00.

            WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

  against all Defendants, jointly and severally, for account stated, and award damages in excess of

  $75,000.00, court costs and prejudgment interest and such other relief as the Court deems just and

  proper.



                                                    17
Case 1:21-cv-24474-BB Document 1 Entered on FLSD Docket 12/29/2021 Page 18 of 18




  Dated: December 29, 2021                      Respectfully submitted,

                                                MARK MIGDAL & HAYDEN
                                                80 SW 8th Street, Suite 1999
                                                Miami, Florida 33130
                                                Telephone: 305-374-0440

                                                By: s/ Donald J. Hayden
                                                Donald J. Hayden, Esq.
                                                Florida Bar No. 97136
                                                don@markmigdal.com
                                                Daniel S. Maland, Esq.
                                                Florida Bar No. 114932
                                                daniel@markmigdal.com
                                                eservice@markmigdal.com

                                                Attorneys for Plaintiff
                                                PPE Trade & Support, LLC


                                                LAW OFFICES OF
                                                S. GEORGE ALFONSO
                                                5220 Spring Valley Road, STE 200
                                                Dallas, TX. 75254
                                                Phone: (972) 725-7940

                                                By: s/ S. George Alfonso
                                                S. George Alfonso
                                                TX State Bar No. 00785658
                                                SGeorge@WorldWideCounsel.Net

                                                Co-Counsel for Plaintiff
                                                PPE Trade & Support, LLC
                                                Pro Hac Vice Pending




                                       18
